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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF MARYLAND

  MARYLAND RESTORATIVE                            )
  JUSTICE INITIATIVE, et al.,                     )
                                                  )
                              Plaintiffs,         )
                                                  )       Case No. ELH-16-1021
  GOVERNOR LARRY HOGAN, et al.,                   )
                                                  )
                              Defendants.         )
                                                  )


                        ORDER STAYING CASE ADMINISTRATIVELY

             As agreed to by the parties, it is this _____ day of February, 2021, by the United States

  District Court for the District of Maryland, hereby ORDERED as follows:

        1.       The administrative stay of this case previously ordered on September 18, 2020

(ECF No. 249) is further extended for a period of sixty days, to and including April 17, 2021, to

permit the parties to finalize all aspects of the settlement process.

        2.       At any time during the pendency of the stay, either party may file a motion asking

the Court to lift the stay.



                                                _________________________________________
                                                Ellen L. Hollander
                                                United States District Court Judge
